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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  BABY DOE, et al.                                     )
                                                       )
                 Plaintiffs,                           )
                                                       )
  v.                                                   )       Case No. 3:22-cv-49-NKM
                                                       )
  JOSHUA MAST, et al.                                  )
                                                       )
                 Defendants,                           )
                                                       )
  and                                                  )
                                                       )
  UNITED STATES SECRETARY OF                           )
  STATE ANTONY BLINKEN, et al.,                        )
                                                       )
                 Nominal Defendants.                   )
                                                       )


         DEFENDANTS JOSHUA AND STEPHANIE MAST’S MEMORANDUM IN
             OPPOSITION TO PLAINTIFFS’ MOTION TO SHOW CAUSE

         Plaintiffs’ motion to show cause is unfounded and uninformed. Defendants Joshua and

  Stephanie Mast did not identify Plaintiffs in their interview with CBS News and thus did not violate

  the protective order. Moreover, Plaintiffs’ effort to use the protective order to muzzle the Masts—

  and to keep their own media interviews unrebutted—only further proves that the protective order

  must be lifted. The Court should deny the motion to show cause and grant the Masts’ motion to

  amend the protective order. See ECF No. 130.

         Plaintiffs filed their expedited motion without meeting and conferring, and they simply get

  their facts wrong. The Masts did not identify John or Jane Doe directly or indirectly in the

  interview. And their suggestion that the Masts improperly identified Baby Doe is misguided for a

  host of reasons. The interview did not include her name, and the video did not include her face.
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  The pictures included in the segment were obtained by CBS from third parties, not from the Masts.

  And at any rate, Plaintiffs have conceded in the briefing on the Masts’ pending motion to dismiss

  that they have no standing to assert claims against the Masts on behalf of the Masts’ own adoptive

  daughter.

         Plaintiffs’ effort at censorship also further confirms that the protective order should be

  lifted. Plaintiffs obtained that protective order ex parte at the outset of the case while launching

  their own campaign to smear the Masts in the media. Their latest motion confirms that they wish

  to use this Court’s order to grant themselves asymmetrical media access. And it shows that their

  real complaint lies not with anything the Masts have said but with the unwanted public scrutiny

  that their own actions have invited. The Masts have not violated the Court’s protective order. But

  even if there were uncertainty on that point, it would be inequitable and a violation of the Masts’

  First Amendment rights to hold them in contempt.

         The Court should dismiss the motion to show cause and grant the Masts’ motion to amend

  the protective order.

                                    FACTUAL BACKGROUND

         A.      Plaintiffs Obtained a One-Sided Protective Order Ex Parte, Which the Masts
                 Have Moved to Modify.

         As outlined in the Masts’ prior motion to lift the protective order, ECF No. 130, the

  protective order sweeps broadly, prohibiting, among other things, “Defendants, their counsel, or

  their other agents and representatives” from “disclosing any information that directly or indirectly

  identifies Plaintiffs or their family members to any Person.” ECF No. 26 at 2 (emphasis added).

  Additionally, it imposed a unilateral obligation on Defendants to “disclose to Plaintiffs’ counsel

  any person whom Defendants, their counsel or representatives, have disclosed Plaintiffs’




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  identities.” Id. Plaintiffs sought and obtained that protective order before defense counsel had

  entered appearances. The Masts’ motion to amend that protective order remains pending.

         B.      Defendants Joshua and Stephanie Mast Participated in a CBS Interview,
                 Careful to Protect John and Jane Doe’s Privacy As Well As Baby Doe’s.

         CBS News launched an independent investigation into Baby Doe’s story, ultimately

  releasing video segments on January 24 and 25, 2023. CBS News asked to interview the Masts as

  part of their investigation; the Masts agreed and were interviewed on January 3, 2023. See Ex.,

  Declaration of Joshua Mast (“Decl.”), ¶ 4. In that interview, the Masts spoke generally about their

  relationship with Baby Doe. Stephanie Mast said she recognized Baby Doe by a scar on her leg,

  but she did not describe the scar. See Decl. ¶ 9. CBS recorded and aired several video clips, which

  included Baby Doe in the Masts’ home, but she wore a long dress and her face is never shown,

  ensuring that she could not be identified from the footage. See Decl. ¶ 10. The video segment also

  shows footage and photos that were not provided to CBS by the Masts—when discussing some of

  these photos, the interviewer notes that the photos were “shared with the Masts.” The material

  CBS independently obtained includes several photos of Baby Doe and an interview with one of

  the soldiers who found Baby Doe in Afghanistan. See Decl. ¶¶ 8, 11. The soldier, who remained

  anonymous in the interview, is the one who identified the location of the compound where Baby

  Doe lived. 1 See Decl. ¶ 11. Cautious of the protective order, the Masts did not identify Baby Doe

  or provide any information about Jane and John Doe. Indeed, they were careful to avoid

  identification to comply with the protective order. See Decl. ¶ 8.




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   The soldier who found Baby Doe also relayed that when he and other American soldiers found
  her, the local Afghan forces suggested throwing Baby Doe in a river to get rid of her because “they
  believed she was a terrorist” rather than make any attempt to save her life.
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         C.      Plaintiffs Swiftly Moved for an Order to Show Cause Without Pointing to Any
                 Identifying Information Provided By the Masts.

         The same day the first video aired, January 24, 2023, Plaintiffs filed this motion seeking

  civil contempt without conferring or requesting information about how CBS obtained the materials

  they complain about. Plaintiffs claim the Masts “brazenly imperiled” their safety and that of their

  families. ECF No. 141 at 2. But they do not specify what the Masts did or said that could “directly

  or indirectly” identify Jane or John Doe. To the contrary, the Masts were conscientious of Jane

  and John Doe’s privacy, see Decl. ¶ 12, a courtesy which Jane and John Doe have not reciprocated.

  And the things they point to that could allegedly identify Baby Doe (indirectly) are not attributable

  to the Masts. The Masts provided no identifying photos of Baby Doe. See Decl. ¶ 8. The statement

  regarding Baby Doe’s birthplace, as seen in the video, was provided in a separate interview with

  a soldier. These things did not come from the Masts, and none comes remotely close to identifying

  Baby Doe more readily than Plaintiffs’ own action of suing her adoptive parents by name.

         D.      Plaintiffs’ Supplemental Filing Also Identifies No Identifying Information.

         On January 26, 2023, Plaintiffs filed a supplemental memorandum in support of this

  motion. Plaintiffs reference a blip in the video segment where Joshua Mast, sitting at a table with

  Stephanie and CBS reporter Catherine Herridge, points to items on the table. Without even

  knowing what the items are, Plaintiffs demand that the Masts be held in contempt for “passing

  unknown materials” to Ms. Herridge and seek an order for the Masts to “immediately” produce

  “whatever materials” were provided.

                                        LEGAL STANDARD

         Contempt is a “drastic remedy” for which a movant carries the “heavy burden” to establish.

  Estes v. Clarke, C.A. No. 7:15-cv-00155, 2022 WL 2383956, at *7 (W.D. Va. July 1, 2022); In re

  Stacy, 21 B.R. 49, 53 (W.D. Va. Mar. 1, 1982) (“[T]he drastic nature of contempt [] dictates that


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  it should be used only in clear and urgent circumstances.”). “The judicial contempt power is a

  potent weapon.” Int’l Longshoremen’s Ass’n v. Philadelphia Marine Trade Ass’n, 389 U.S. 64, 76

  (1967). The Supreme Court has cautioned that, “[w]hen [the contempt power] is founded upon a

  decree too vague to be understood, it can be a deadly one.” Id.

         Because contempt is such a “severe remedy,” basic principles of fairness “require that those

  enjoined receive explicit notice of what conduct is outlawed before being held in civil contempt.”

  Taggart v. Lorenzen, 139 S. Ct. 1795, 1802 (2019) (citing Schmidt v. Lessard, 414 U.S. 473, 476

  (1974)). “[C]ivil contempt is only appropriate if the contemnor has violated a ‘clear and

  unambiguous’ command” which is “set forth in ‘specific detail’ and with ‘unequivocal

  command.’” Doe v. Herman, C.A. No. 97-cv-0043, 1998 WL 35113312, at*5 (W.D. Va. May 6,

  1998) (quoting In re Gen. Motors Corp., 61 F.3d 256, 258 (4th Cir. 1995)). Accordingly, “[a] party

  cannot be held in contempt for violating an ambiguous court order.” Consumer Fin. Prot. Bureau

  v. Klopp, 957 F.3d 454, 464 (4th Cir. 2020) (quoting Acosta v. Ls Piedad Corp., 894 F.3d 947,

  951 (8th Cir. 2018)).

         A motion for civil contempt requires more than a preponderance of the evidence—the

  movant is required to show “clear and convincing” evidence of the following elements:

     (1) the existence of a valid decree of which the alleged contemnor had actual or
         constructive knowledge;

     (2) that the decree was in the movant’s “favor”;

     (3) that the alleged contemnor by its conduct violated the terms of the decree, and had
         knowledge (at least constructive knowledge) of such violations; and

     (4) that the movant suffered harm as a result.

  Ashcraft v. Conoco, Inc., 218 F.3d 288, 301 (4th Cir. 2020) (citation and alterations omitted). In

  other words, the “evidence must ‘place in the ultimate factfinder an abiding conviction that the



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  truth of [the party’s] factual contentions are highly probable.’” United States v. Ali, 874 F.3d 825,

  831 n.2 (4th Cir. 2017) (citation omitted).

         Since civil contempt may lie only for the violation of a “valid decree,” no contempt will be

  found where the underlying order is found to be invalid. Ashcraft, 218 F.3d at 302–03; see also

  McLean v. Central States, Southeast and Southwest Areas Pension Fund, 762 F.2d 1204, 1210

  (4th Cir. 1985) (reversing civil contempt finding where underlying order invalid). Protective orders

  that restrict speech “warrant a most rigorous form of review because they rest at the intersection

  of two disfavored forms of expressive limitations: prior restraints and content-based restrictions.”

  In re Murphy-Brown, LLC, 907 F.3d 788, 796–97 (4th Cir. 2018). Such orders are met with “a

  heavy presumption against [their] constitutional validity.” Nebraska Press Ass’n v. Stuart, 427

  U.S. 539, 545 (1976). These orders survive review only if they “serve a compelling public interest”

  and are “the least restrictive means of furthering that interest.” In re Murphy-Brown LLC, 907 F.3d

  at 797–99.

         Even if a movant can establish, by clear and convincing evidence, that a valid decree

  existed and was violated, there is no action for civil contempt without a showing of actual harm

  resulting from the violation. Ashcraft, 218 F.3d at 301. Civil contempt is “a compensatory

  sanction” which “may not exceed the actual loss to the complainant . . . lest the contempt fine

  become punitive in nature, which is not appropriate in a civil contempt proceeding.” In re Gen.

  Motors Corp., 61 F.3d at 259. Accordingly, a “[p]laintiff must show some harm that resulted

  directly” from the violation; “to hold otherwise would render the harm element of civil contempt

  superfluous.” Ri Ra Holdings LLC v. Ri Ra, C.A. No. 1:99-cv-0374, 2002 WL 31163751, at *3

  (W.D.N.C. Aug. 1, 2002).




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                                             ARGUMENT

         The Court should deny the show-cause motion for several reasons: (1) the Masts did not

  violate the protective order; (2) the Does lack standing to assert an alleged violation against the

  Masts on behalf of the Masts’ own adoptive daughter; (3) the protective order should be lifted and

  its enforcement against the Masts based on the CBS News segment would violate the First

  Amendment; (4) the Does have not shown actual harm; (5) the Masts, at a minimum, made a good-

  faith effort to comply; and (6) there is no basis for granting fees against the Masts.

  I.     The Masts Did Not Violate the Protective Order.

         The Court should deny the motion because the Masts did not violate the plain language of

  the protective order. The Masts did not provide any information to CBS identifying John and Jane

  Doe or Baby Doe. In arguing otherwise, Plaintiffs fall far short of their burden of showing clear

  and convincing evidence. There is no argument that the Masts identified Plaintiffs or Baby Doe

  directly. In their supplemental filing, Plaintiffs suggests that the CBS segment might indirectly

  identify them. But in doing so, they point to a statement made by a third party—not by the Masts.

  Contrary to Plaintiffs’ mischaracterizations, it is self-evident from the CBS segments that the

  Masts conscientiously avoided identifying Plaintiffs.

         The bulk of Plaintiffs’ argument is that the Masts may have indirectly identified Baby Doe.

  Never mind that they sued her adoptive parents by name or that, as discussed below, they have no

  standing to assert a claim on her behalf. Even setting that aside, Plaintiffs have not carried their

  burden of showing that the Masts violated the protective order. To the contrary, the Masts again

  were conscientious in protecting Baby Doe’s privacy as best they could. The Masts prohibited

  CBS News from taking photographs that would allow others to identify Baby Doe. This is

  abundantly clear when one watches the video segments, where Baby Doe is shown playing in the

  Masts’ home. She wears a long dress, and her face is never revealed to the audience.
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         CBS News did more than just interview the Masts. While the Masts followed this Court’s

  order, they could not control CBS News or others to whom the media outlet spoke. It is apparent

  from the aired segments that CBS News obtained statements and information from others who

  were familiar with Baby Doe, including one of the many U.S. military personnel who knew of

  and/or interacted with Baby Doe while she received medical treatment in a U.S. military hospital

  in Afghanistan. Baby Doe, a lone infant in a warzone, attracted the attention of many U.S.

  servicemembers. It appears that some of those individuals took photographs of her or were

  otherwise willing to share their accounts with CBS News. For example, in the segment, CBS

  showcased an interview with an anonymous soldier involved in recovering Baby Doe from the

  wreckage of her family’s home. It was this individual, not the Masts, who identified the compound

  where Baby Doe once lived and shared photos of her in a make-shift car seat. Plaintiffs’ allegations

  that the identifying photos in the segment could have been obtained “only from the Masts or with

  their explicit permission” are devoid of any factual support and are undermined by the videos and

  photos that actively conceal Baby Doe’s identity. The segment does not attribute those materials

  to the Masts, and Plaintiffs never bothered to ask.

         The Masts did not violate the Court’s protective order, and this motions practice likely

  could have been avoided if Plaintiffs had merely conferred before filing.

  II.    John and Jane Doe Have No Standing to Assert Claims on Behalf of Baby Doe.

         The motion also fails because John and Jane Doe cannot assert claims against the Masts on

  behalf of the Masts’ own adoptive daughter. The Masts have previously made clear that they alone

  can bring claims on behalf of Baby Doe, and that the Does lack standing to do so. See ECF No. 85

  at 10–11. That is so because only a child’s “next friend” or guardian ad litem may sue on his or

  her behalf. Fed. R. Civ. P. 17(c)(2); Va. Code Ann. § 8.01-8; Elk Grove Unified Sch. Dist. v.



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  Newdow, 542 U.S. 1, 8 (2004), abrogated in part on other grounds by Lexmark Int’l, Inc. v. Static

  Control Components, Inc., 572 U.S. 118 (2014). The Virginia Adoption Order—which is entitled

  to “full faith and credit” in this Court, 28 U.S.C. § 1738—precludes the Does’ attempt to bring

  claims on Baby Doe’s behalf even if John Doe’s allegations of being a biological half cousin or

  legal guardian under any theory were true. See Newdow, 542 U.S. at 17. Plaintiffs completely

  failed to respond to this argument in their Opposition to the Masts’ Motion to Dismiss, see

  generally ECF No. 113, and thus have waived any response, see ECF no. 120 at 4. Thus, to the

  extent Plaintiffs claim that the Masts violated Baby Doe’s rights under the protective order, their

  motion fails for the further reason that they lack standing to assert it.

  III.   The Protective Order Should Be Lifted, and Enforcing It Against the Masts Over
         the CBS News Segments Would Violate the First Amendment.

         The Court should also deny the motion because the protective order is invalid and should

  be lifted, and its enforcement in this context would violate the First Amendment, even if Plaintiffs

  could carry their burden of showing a violation by clear and convincing evidence.

         There can be no contempt where the underlying order is invalid. See Ashcraft, 218 F.3d at

  301 (movant must show the violation of the court’s “valid decree”). As set forth in Defendants’

  previously filed Motion to Amend/Modify the Protective Order (ECF No. 130), the protective

  order is presumptively invalid and violates the Masts’ First Amendment rights. See ECF No. 130

  at 12. Such restrictive orders “should be a last resort, not a first impulse” and are invalid unless

  they survive strict scrutiny. In re Murphy-Brown, LLC, 907 F.3d at 799–800. The Court has made

  no factual findings to support that the protective order serves a compelling interest or that the order

  is narrowly tailored to support that interest. See ECF No. 130 at 12–13.

         Additionally, if the protective order were construed so broadly as to reach the things

  Plaintiffs complain of, it would be too vague and ambiguous to serve as the predicate order for a


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   finding of contempt. See Consumer Fin. Prot. Bureau v. Klopp, 957 F.3d 454, 464 (4th Cir. 2020)

   (“A party cannot be held in contempt for violating an ambiguous court order.”). Civil contempt

   “should not be resorted to where there is a fair ground of doubt as to the wrongfulness of the

   defendant’s conduct.” Taggart, 139 S. Ct. at 1801–02. A contempt finding is appropriate only

   where “those who must obey an order [] know what the court intends to require and what it means

   to forbid.” Id. at 1802; cf. United States v. Miselis, 972 F.3d 518, 544 (4th Cir. 2020) (explaining

   that constitutional problems arise “where a vague statute abuts upon sensitive areas of basic First

   Amendment freedoms because ambiguity inevitably leads citizens to steer far wider of the

   unlawful zone than if the boundaries were clearly marked, thereby chilling protected speech”

   (cleaned up)).

          The protective order covers “information which directly or indirectly identifies Plaintiffs

   or their family members,” ECF No. 26 at 2, and Plaintiffs plainly have a broad reading of what

   information “indirectly” identifies them. Even if it is conceivable to read the protective order that

   broadly, the Masts have never understood it that way. And it is by no means unambiguous that the

   clause would apply to, say, an image of Baby Doe in a long-sleeved dress where her face is not

   visible. If the protective order were construed that broadly, the Masts would be left to guess at

   what information falls within its bounds, making compliance with the order difficult, if not

   practically impossible.

          The Court should deny the show-cause motion and grant the Masts’ motion to amend the

   protective order. See ECF No. 130 at 12–13.

   IV.    Plaintiffs Fail to Make the Required Showing of Actual Harm.

          Even if Plaintiffs could clear the other hurdles, their contempt effort would still fail because

   they have not proven actual harm. A court cannot issue an order for contempt unless the moving

   party can show, by clear and convincing evidence, “that the movant suffered harm as a result” of
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   the alleged contemnor’s conduct. Ashcraft, 218 F.3d at 301. The motion includes no allegation of

   actual harm, only potential harm. Plaintiffs claim the publication of photos of Baby Doe will allow

   individuals in Afghanistan to recognize Baby Doe, and, by extension, Jane and John Doe, more

   easily. But Plaintiffs fail to show, by clear and convincing evidence, that the publication of these

   photos is attributable to the Masts. Nor can they show that production of these photographs could

   lead to anyone in Afghanistan recognizing John or Jane Doe or Baby Doe.

          Indeed, even if Plaintiffs could show that someone in Afghanistan had identified them—

   which they have not—they would still need to show that identification resulted from the Mast’s

   conduct, as opposed to their own (or a third party’s). Plaintiffs’ recognition or identification in

   Afghanistan could just as easily result from the media attention they sought, during which they

   shared Baby Doe’s legal name, the location of her home, and even allowed journalists to visit John

   and Jane Doe’s home, or from a review of their public allegations in this very case.

          Plaintiffs have not proven any harm resulting from the alleged violation, and certainly no

   harm that is attributable to the Masts. Courts in this Circuit regularly decline to impose civil

   contempt on a party in the absence of actual harm. See, e.g., Estes, 2022 WL 2383956, at *5 (The

   violation “has not caused any harm to [the movant]. Thus, the court cannot hold defendants in

   contempt on this basis.”); Hinkle Oil & Gas v. Bowles Rice McDavid Graff & Love, LLP, C.A.

   No. 7:07-cv-487, 2008 WL 4622084, at *2 (W.D. Va. Oct. 17, 2008) (denying motion for civil

   contempt sanctions where “[t]here was, in short, no harm to [the movant]”); United States ex rel.

   DRC, Inc. v. Custer Battles, LLC, C.A. No. 1:04-cv-199, 2005 WL 6363553, at *4 (E.D. Va. Mar.

   24, 2005) (denying motion for contempt because movants “have not come forward with any

   evidence of actual harm, relying only on their counsel’s assertions that defendants have somehow




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   suffered harm to their reputations”). Plaintiffs’ conjectural predictions of potential future harm are

   far from the required showing of clear and convincing evidence.

   V.     Joshua and Stephanie Took All Reasonable Efforts to Comply with the Order.

          There also cannot be any finding of contempt because the Masts made a good-faith effort

   to comply with the order. Even where a movant has made a clear and convincing showing on all

   four factors, a party may avoid liability for civil contempt if it shows “substantial compliance”

   with the Court’s order. United States v. Darwin Constr. Co., Inc., 873 F.2d 750, 754–55 (4th Cir.

   1989); see De Simone v. VSL Pharms., Inc., 36 F.4th 518, 530 (4th Cir. 2022) (“Substantial

   compliance is a defense to civil contempt.”). A party substantially complies with the court’s order

   where it “in good faith” takes “all reasonable steps” toward compliance. Darwin Constr. Co., 873

   F.2d at 755; see Ali, 874 F.3d at 831 (a party avoids contempt by showing it made “all reasonable

   efforts” to comply with order).

          The Masts substantially complied with the protective order, which is a complete defense

   to civil contempt. See Darwin Constr. Co., 83 F.2d at 754–55. Specifically, the Masts took careful

   steps to avoid identifying Baby Doe or Jane and John Doe during the interview. They forbade CBS

   from photographing Baby Doe’s face and did not provide any identifying photos of Baby Doe to

   CBS for use in the segment. They shared no information about John and Jane Doe during the

   interview and did not make a single reference to their families or their homes in Afghanistan. The

   Masts understood these to all be reasonable steps toward compliance with the order. To the extent

   there was any violation of the order, it was an excusable mistake. See Estes, 2022 WL 2383956,

   at *7 (“[M]istakes—especially negligent ones—are unlikely to satisfy the standard for civil

   contempt, either because of a lack of harm or because, despite those mistakes, there is still

   substantial compliance with” the court’s order.).



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   VI.     Plaintiffs Are Not Entitled to Fees.

           There is no basis for attorneys’ fees—at least not against the Masts—because there is no

   violation of the protective order, much less a willful violation. Absent a showing of obstinance or

   willful disobedience, an award of attorneys’ fees is unwarranted. See Omega World Travel, Inc. v.

   Omega Travel, Inc., 710 F. Supp. 169, 173 (E.D. Va. 1989), aff’d, 1990 WL 74305 (4th Cir. 1990);

   see also Chambers v. NASCO, Inc., 501 U.S. 32, 45 (1991) (“willful violation of a court order”

   may justify attorneys’ fee award). An award of attorneys’ fees is reserved for those situations

   where the movant has no other choice than to bring his motion for contempt, in order to stop

   violation of a court order. Plaintiffs could have simply conferred with the Masts and would have

   ascertained that there was no violation of the protective order. Plaintiffs chose not to take this small

   step and instead initiated this unnecessary motions practice. The Masts should not be required to

   bear the Does’ costs.

                                             CONCLUSION

           For the foregoing reasons, the Court should deny the motion for an order to show cause.



           Dated: January 30, 2023                         Respectfully submitted,

                                                           /s/ John S. Moran               .




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